 Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 1 of 10




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA                :
                                        :
            v.                          :      CRIMINAL ACTION NO.
                                        :      1:09-CR-475-WSD-CCH-1
FRANCISCO             TEJADA-           :
LANDAVERDE                              :

                    REPORT AND RECOMMENDATION


      Defendant Francisco Tejada-Landaverde (“Defendant”) is charged in the

indictment with multiple counts of committing a robbery of a business in interstate

commerce through the threat or use of violence, and carrying and using a firearm

during and in relation to a crime of violence. This action is before the Court on

Defendant’s Motion To Dismiss Indictment for Lack of Jurisdiction and Violation of

Double Jeopardy Clause of the 5th Amendment to the United States Constitution [56]

(“Motion to Dismiss”).


      The Court held an evidentiary hearing on Defendant Tejada-Landaverde’s

Motion to Dismiss and other pending motions on February 3, 2010, and a transcript

of that hearing [81] was filed on February 17, 2010. Thereafter, Defendant filed a

post-hearing brief in support of his Motion to Dismiss [85] on March 30, 2010, the

Government filed a response brief [93] to the Motion to Dismiss on May 1, 2010, and
 Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 2 of 10




Defendant filed a reply brief [95] to the Government’s response on May 10, 2010, at

which time the Motion to Dismiss became ripe for resolution by the Court.


      Having heard the evidence and having reviewed the transcripts of the

evidentiary hearings and the briefs of the parties, the undersigned RECOMMENDS

that Defendant Tejada-Landaverde’s Motion to Dismiss [56] be DENIED.


                                 BACKGROUND


      On October 27, 2009, the grand jury issued an indictment [1] against Defendant

Francisco Tejada-Landaverde, and other co-defendants, charging them with multiple

counts. In Count One, Defendant Tejada-Landaverde is charged with armed robbery

on or about March 6, 2009, of a business engaged in interstate commerce by means

of actual and threatened force, that is, by brandishing and discharging a pistol during

the robbery, in violation of 18 U.S.C. §§ 2 and 1951. In Count Two, Defendant

Tejada-Landaverde is charged with knowingly using and carrying a firearm during

and in relation to a crime of violence on or about March 6, 2009, in violation of 18

U.S.C. §§ 2 and 924(c). In Count Five, Defendant Tejada-Landaverde is charged

with armed robbery on or about March 15, 2009, of a business engaged in interstate

commerce by means of actual and threatened force, that is, by brandishing a pistol



                                          2
 Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 3 of 10




during the robbery, in violation of 18 U.S.C. §§ 2 and 1951. In Count Six, Defendant

Tejada-Landaverde is charged with knowingly using and carrying a firearm during

and in relation to a crime of violence on or about March 15, 2009, in violation of 18

U.S.C. §§ 2 and 924(c). In Count Seven, Defendant Tejada-Landaverde is charged

with armed robbery on or about March 17, 2009, of a business engaged in interstate

commerce by means of actual and threatened force, that is, by brandishing a pistol

during the robbery, in violation of 18 U.S.C. §§ 2 and 1951. In Count Eight,

Defendant Tejada-Landaverde is charged with knowingly using and carrying a firearm

during and in relation to a crime of violence on or about March 17, 2009, in violation

of 18 U.S.C. §§ 2 and 924(c). In Count Nine, Defendant Tejada-Landaverde is

charged with armed robbery on or about March 23, 2009, of a business engaged in

interstate commerce by means of actual and threatened force, that is, by brandishing

a pistol during the robbery, in violation of 18 U.S.C. §§ 2 and 1951. In Count Ten,

Defendant Tejada-Landaverde is charged with knowingly using and carrying a firearm

during and in relation to a crime of violence on or about March 23, 2009, in violation

of 18 U.S.C. §§ 2 and 924(c).


      Defendant argues in his Motion to Dismiss that the indictment charges him with

the violation of two separate federal statutes for the commission of one act, and thus,



                                          3
 Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 4 of 10




violates the prohibition against Double Jeopardy in the Fifth Amendment. He further

argues that this Court lacks jurisdiction over the subject matter pursuant to 18 U.S.C.

§ 924(c) on the ground that the firearm provision does not affect interstate commerce

and contravenes the general police powers of the state.


                                   DISCUSSION


I.    The Charges in the Indictment Do Not Violate the Double Jeopardy Clause of

      the Fifth Amendment.


      Defendant’s first argument is that the indictment violates the Double Jeopardy

clause in the Fifth Amendment because it charges him with the violation of two

separate federal statutes for the commission of one act, and thus, seeks to impose

multiple punishments on him for one act. As set forth above, the indictment charges

Defendant with two separate counts based on each commission of an alleged armed

robbery on four separate dates: March 6, 2009; March 15, 2009; March 17, 2009; and

March 23, 2009. For each alleged armed robbery, Defendant is charged with one

count of committing a robbery by means of actual and threatened force, in violation

of 18 U.S.C. §§ 2 and 1951, and a separate count of knowingly using and carrying a




                                          4
 Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 5 of 10




firearm during and in relation to a crime of violence, in violation of 18 U.S.C. §§ 2

and 924(c).


      The double jeopardy clause of the Fifth Amendment provides that “[n]o person

shall . . . be subject for the same offence to be twice put in jeopardy of life or limb.”

U.S. Const. Amend. V. The double jeopardy clause prohibits the imposition of

multiple punishments for the same offense. Brown v. Ohio, 432 U.S. 161, 165 (1977);

North Carolina v. Pearce, 395 U.S. 711, 717 (1969). When a single offense is charged

in two or more counts, the charges are said to be multiplicitous. See 1A Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure § 142 (3d ed. 1999). The

danger of multiplicity is that, when criminal act is punished across several counts, a

jury may believe the defendant has committed more criminal acts than he actually has,

or the defendant may receive multiple sentences for one crime. United States v.

Smith, 231 F.3d 800, 815 (11th Cir. 2000).


      To determine whether multiple counts of an indictment are multiplicitous,

courts look to whether the counts charge a single offense or “distinct and separate”

offenses. See United States v. Langford, 946 F.2d 798, 802 (11th Cir. 1991).

Multiple counts are not multiplicitous when they all stem from a statute that creates

several different offenses. See, e.g., United States v. Martinez-Gonzales, 89 F.Supp.


                                           5
 Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 6 of 10




62, 64-65 (D.C. Cal. 1950). Similarly, a substantive offense and conspiracy to commit

that offense may be charged separately without being multiplicitous, because

conspiracy and a completed offense are considered to constitute separate crimes.

Iannelli v. United States, 420 U.S. 770, 777-78 (1975).


      The key to determining whether there are in fact two distinct offenses is

whether each statute “requires proof of an additional fact which the other does not.”

Blockburger v. United States, 284 U.S. 299, 304 (1932). This has become known as

the “Blockburger test.” See United States v. Hassoun, 476 F.3d 1181, 1185 (11th Cir.

2007) (citing Albernaz v. United States, 450 U.S. 333, 337 (1981)). As the Supreme

Court has explained, the court must focus on the statutory elements of each offense;

“[i]f each requires proof of a fact that the other does not, the Blockburger test is

satisfied, notwithstanding a substantial overlap in the proof offered to establish the

crimes.” Albernaz, 450 U.S. at 338 (quoting Iannelli v. United States, 420 U.S. 770,

785 n.17 (1975)); see also Hassoun, 476 F.3d at 1185; United States v. Boldin, 772

F.2d 719, 729 (11th Cir. 1985).


      The general principle underlying the Blockburger test, of course, is that a

criminal defendant should not be punished twice for committing only one offense.

See Whalen v. United States, 445 U.S. 684, 692 (1980). Applying this principle and


                                          6
 Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 7 of 10




the Blockburger test to the charges against the Defendant in the instant action, the

Court finds that the charges are not multiplicitous. For each alleged robbery

committed on four separate occasions, Defendant is charged both with committing a

robbery of a business engaged in interstate commerce by means of actual and

threatened force, in violation of 18 U.S.C. §§ 2 and 1951, and with knowingly using

and carrying a firearm during and in relation to a crime of violence, in violation of 18

U.S.C. §§ 2 and 924(c). The first charge relates to the commission of a robbery of a

business in interstate commerce through the use or threat of violence, which does not

specifically require proof of the use of a firearm; the second charge relates to using

and carrying a firearm in the commission of a crime of a violence, which does not

require proof of a specific intent to commit a robbery of a business engaged in

interstate commerce. While there may be substantial overlap in the proof required to

establish each of these crimes, they are separate and distinct offenses.


      Accordingly, because each statute requires proof of an element that the other

does not, under the Blockburger test, the Court finds that the charges against

Defendant are not multiplicitous and thus, they do not violate the prohibition against

Double Jeopardy in the Fifth Amendment. See United States v. Reddick, 231 Fed.

Appx. 903, 919 (11th Cir. 2007) (“we find that the court did not err when it sentenced



                                           7
 Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 8 of 10




Reddick for armed robbery under the [Federal Bank Robbery Act] and for brandishing

a firearm during a bank robbery pursuant to 18 U.S.C. § 924(c)(1)(A)”) (unpublished).


II.   18 U.S.C. § 924(c) Is Not Unconstitutional.


      Defendant next argues that all of the charges in the indictment arising under 18

U.S.C. § 924(c) must be dismissed on the ground that the statute is unconstitutional

because, he argues, the firearm provision does not affect interstate commerce and

contravenes the general police powers of the state.


      In support of this argument, Defendant relies on the Supreme Court’s decision

in United States v. Lopez, 514 U.S. 549 (1995), in which the Supreme Court struck

down the Gun-free School Zone Act as an invalid exercise of Congress’s power under

the Commerce Clause, holding that such power is limited to regulating only those

activities that substantially affect interstate commerce. The Court concluded that,

because prohibiting the knowing possession of a firearm within 1000 feet of a school

was not the regulation of a commercial activity, and because the Act did not contain

a requirement that the possession of the firearm be connected in any way to interstate

commerce, the Act exceeded the authority of Congress to regulate commerce under

the Commerce Clause.



                                          8
 Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 9 of 10




      After the Supreme Court’s decision in Lopez, the precise issue that Defendant

raises in this case was addressed by the Eleventh Circuit, and was rejected in United

States v. Ferreira, 275 F.3d 1020, 1028 (11th Cir. 2001) and United States v. DePace,

120 F.3d 233, 235 (11th Cir. 1997).


      In addition to being found guilty of the hostage taking and carjacking
      counts, each appellant was convicted under the firearms statute making
      it a federal crime to use and carry a firearm during a crime of violence.
      See 18 U.S.C. § 924(c) (providing additional penalties for a person
      “who, during and in relation to any crime of violence, ... uses or carries
      a firearm, or who, in furtherance of any such crime, possesses a
      firearm....”). Appellant Caraballo-Martinez argues that those convictions
      cannot stand because Congress lacked the power under the Commerce
      Clause to enact that provision.
      In making that argument, Caraballo-Martinez relies primarily on United
      States v. Lopez, 514 U.S. 549, 115 S.Ct. 1624, 131 L.Ed.2d 626 (1995).
      After the Court’s decision in Lopez, however, we squarely rejected
      precisely the same argument Caraballo-Martinez now makes. See United
      States v. DePace, 120 F.3d 233, 235 n.2 (11th Cir.1997) (agreeing with
      those courts that have rejected the idea “that 18 U.S.C. § 924(c) is an
      unconstitutional effort to regulate intrastate, non-economic activity”)
      (citing United States v. Brown, 72 F.3d 96, 96-97 (8th Cir.1995); United
      States v. Leshuk, 65 F.3d 1105, 1111-12 (4th Cir.1995)). We add that
      nothing in the Supreme Court’s recent rulings in Jones v. United States,
      529 U.S. 848, 120 S.Ct. 1904, 146 L.Ed.2d 902 (2000), or United States
      v. Morrison, 529 U.S. 598, 120 S.Ct. 1740, 146 L.Ed.2d 658 (2000),
      alters that conclusion. Cf. Gray, 260 F.3d at 1270 (concluding that
      “nothing in Morrison or Jones alters our previous conclusion that, to
      convict a defendant for Hobbs Act robbery, the Government must prove
      a minimal, but not substantial, effect on interstate commerce.”).




                                          9
Case 1:09-cr-00475-WSD-JSA Document 97 Filed 06/01/10 Page 10 of 10




Ferreira, 275 F.3d at 1028. Based on the Eleventh Circuit’s decision in Ferreira, the

undersigned must reject Defendant’s argument that 18 U.S.C. § 924(c) is

unconstitutional.


                             RECOMMENDATION


      For all the above reasons, the undersigned RECOMMENDS that Defendant’s

Motion to Dismiss [56] be DENIED.


      IT IS SO RECOMMENDED this 1st day of June, 2010.


                                       __________________________________
                                       C. CHRISTOPHER HAGY
                                       UNITED STATES MAGISTRATE JUDGE




                                         10
